934 F.2d 319Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry Eugene FREEMAN, Petitioner-Appellant,v.Raymond M. MUNCY, Mary Sue Terry, Attorney General ofVirginia, Respondents-Appellees.
    No. 90-6412.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 27, 1990.Decided May 29, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (CA-90-237-R)
      Larry Eugene Freeman, appellant pro se.
      Katherine Baldwin Toone, Office of the Attorney General, Richmond, Va., for appellees.
      E.D.Va., 748 F.Supp. 423.
      DISMISSED.
      Before K.K. HALL, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Larry Eugene Freeman seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.    Freeman v. Muncy, CA-90-237-R (E.D.Va. Oct. 1, 1990).1   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        1
         Although the district court's opinion does not refer to petitioner's claims as originally numbered, we are satisfied that the district court gave adequate consideration to each ground for relief raised by petitioner
      
    
    